






Opinion issued May 22, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-99-01348-CV

____________


ELI MASSO, LUBBOCK INVESTMENT TRUST AND HURST INVESTMENT
TRUST, Appellants


V.


DONALD FARMER AND COUPON CONNECTION OF AMERICA, INC.,
Appellees






On Appeal from the 268th District Court

Fort Bend County, Texas

Trial Court Cause No. 102026






MEMORANDUM  OPINION

	The parties have filed a joint motion to dismiss this appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Keyes.


